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    8
                       THE UNITED STATES DISTRICT COURT
    9
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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        MONSTER ENERGY COMPANY, a                 Case No.: 8:20−cv−00602 JFW (JPRx)
        Delaware corporation, and REIGN
  13    BEVERAGE COMPANY, LLC, a
        Delaware limited liability company,       FINAL JUDGMENT AND
  14                                              PERMANENT INJUNCTION [29]
                      Plaintiffs,
  15           v.
  16    ALPINE FALLS MARKETING LLC,
        a California limited liability company,
  17    AGAPE LIVING WATER, LLC, a
        California limited liability company,
  18    PURITAS BEVERAGES, LLC, an
  19    Illinois limited liability company, and
        GERRY PATTERSON, an individual,
  20                  Defendants.
  21
        AGAPE LIVING WATER, LLC, a
  22    California limited liability company,
  23                 Counterclaimant,
  24          v.
  25    MONSTER ENERGY COMPANY, a
        Delaware corporation, and REIGN
  26    BEVERAGE COMPANY, LLC, a
  27    Delaware limited liability company,
                    Counterdefendants.
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    1         Pursuant to a Stipulation for Entry of Judgment and Permanent Injunction
    2   filed by Plaintiffs Monster Energy Company and Reign Beverage Company, LLC
    3   (collectively “Plaintiffs”) and Defendants Agape Living Water, LLC, Alpine
    4   Falls Marketing LLC, Puritas Beverages, LLC, and Gerry Patterson (collectively
    5   “Defendants”),
    6   IT IS HEREBY ORDERED, ADJUDGED, AND DECREED AS
    7   FOLLOWS:
    8         1.     The Court has personal jurisdiction over each of the parties to this
    9   action. The Court also has subject matter jurisdiction over this action pursuant to
  10    15 U.S.C. §§ 1116 and 1121 and 28 U.S.C. §§ 1331, 1338, 1367(a). Venue is
  11    proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and (c).
  12          2.     Monster Energy Company (“Monster”) is a corporation organized
  13    and existing under the laws of the State of Delaware, having a principal place of
  14    business at 1 Monster Way, Corona, California 92789.
  15          3.     Reign Beverage Company, LLC (“Reign”) is a limited liability
  16    company organized and existing under the laws of the State of Delaware, having
  17    an address of 1547 N. Knowles Avenue, Los Angeles, California 90063. Reign
  18    is a wholly owned subsidiary of Monster.
  19          4.     Alpine Falls Marketing LLC (“Alpine Falls”) is a limited liability
  20    company organized and existing under the laws of the State of California, having
  21    an address of P.O. Box 255, Yorba Linda, California 92885.
  22          5.     Agape Living Water, LLC (“Agape”) is a limited liability company
  23    organized and existing under the laws the State of California, having a principal
  24    place of business at 8376 Thoroughbred Street, Alta Loma, California 91701.
  25          6.     Puritas Beverages, LLC (“Puritas”) is a limited liability company
  26    organized and existing under the laws of the State of Illinois, having an address
  27    at 417 South Associated Road, Suite 309, Brea, California 92821.
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    1         7.     Gerry Patterson (“Patterson”) is an individual having an address of
    2   420 S Chatham Cir., Apt. N, Anaheim, CA 92806.
    3
              8.     Plaintiffs produce and sell a line of energy drinks bearing the REIGN
    4
        trademark, and use various REIGN-inclusive marks in connection with their
    5
        REIGN beverages, including, but not limited to, REIGN, REIGN FUEL®,
    6
    7   REIGN TOTAL BODY FUEL, REIGN INFERNO,                          ,         ,     , and
    8
             (collectively, “Plaintiffs’ REIGN Marks”).
    9         9.     Reign is the owner of U.S. Trademark Registration No. 6,003,554
  10    (“the ’554 Registration”) for the mark REIGN FUEL® for use in connection with
  11    “energy drinks; soft drinks,” which was filed on October 30, 2018, and registered
  12    on March 3, 2020.
  13          10.    Defendants make, sell, and/or distribute bottled water under the
  14    mark REIGN.
  15          11.    Defendants are not now, nor have they ever been, associated,
  16    affiliated, or connected with Plaintiffs. Plaintiffs did not authorize Defendants to
  17    use any REIGN mark.
  18          12.    On March 26, 2020, Plaintiffs filed a Complaint against Defendants
  19    for: (i) trademark infringement under 15 U.S.C. § 1114; (ii) trademark
  20    infringement and false designation of origin under 15 U.S.C. § 1125(a); (iii)
  21    California common-law unfair competition; and (iv) unfair competition arising
  22    under California Business & Professions Code § 17200 et seq. Plaintiffs assert
  23    that Defendants are infringing Plaintiffs’ rights in Plaintiffs’ REIGN Marks by
  24    marketing and selling beverages using the mark REIGN.
  25          13.     Defendants acknowledge that Plaintiffs have priority with respect to
  26    Plaintiffs’ REIGN Marks over any use by Defendants of any REIGN mark.
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    1         14.      Defendants acknowledge that they have no trademark rights or other
    2   rights to the REIGN mark or any other REIGN-containing mark.
    3         15.      Defendants acknowledge that Plaintiffs’ REIGN Marks, including
    4   Reign’s ’554 Registration, are valid and enforceable.
    5         16.      Defendants acknowledge that their use of the mark REIGN in
    6   connection with marketing, offering for sale, and selling Defendants’ beverages
    7   is likely to cause confusion with Plaintiffs’ REIGN Marks and therefore
    8   constitutes trademark infringement, false designation of origin, and unfair
    9   competition.
  10    NOW,         THEREFORE,        IT   IS   FURTHER         HEREBY       ORDERED,
  11    ADJUDGED, AND DECREED AS FOLLOWS:
  12          A.       Final judgment is entered in favor of Plaintiffs and against
  13    Defendants on Plaintiffs’ claims for: (i) trademark infringement under 15 U.S.C.
  14    § 1114; (ii) trademark infringement and false designation of origin under 15
  15    U.S.C. § 1125(a); (iii) California common-law unfair competition; and (iv) unfair
  16    competition arising under California Business & Professions Code § 17200 et seq.
  17          B.       Final Judgment is entered against Agape and in favor of Plaintiffs on
  18    Agape’s counterclaims for: (i) trademark infringement and false designation of
  19    origin under 15 U.S.C. § 1125(a); (ii) unfair competition arising under California
  20    Business & Professions Code § 17200 et seq.; and (iii) declaratory relief.
  21          C.       Defendants, their agents, servants, employees, attorneys, successors,
  22    and assigns, and all other persons in active concert or participation with
  23    Defendants who receive actual notice of this injunction by personal service or
  24    otherwise, are forthwith permanently enjoined from:
  25            i.     using the REIGN mark and any other marks that are confusingly
  26                   similar to Plaintiffs’ REIGN Marks in connection with the
  27                   advertising, promotion, manufacture, distribution, or sale of
  28                   Defendants’ goods, including, but not limited to, on Defendants’
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    1                 beverage products, or in any manner that is likely to create the
    2                 impression that Defendants’ goods originate from Plaintiffs, are
    3                 endorsed by Plaintiffs, are sponsored by Plaintiffs, or are connected
    4                 in any way with Plaintiffs;
    5           ii.   filing any applications for registration of any mark containing the
    6                 mark REIGN or any mark that is confusingly similar to Plaintiffs’
    7                 REIGN Marks;
    8          iii.   otherwise infringing any of Plaintiffs’ REIGN Marks, or any of
    9                 Plaintiffs’ other trademarks that include the term REIGN;
  10           iv.    falsely designating the origin of Defendants’ products as originating
  11                  from Plaintiffs;
  12            v.    unfairly competing with Plaintiffs in any manner whatsoever; and
  13           vi.    causing a likelihood of confusion or injury to Plaintiffs’ business
  14                  reputation;
  15          D.      The parties shall be subject to the jurisdiction of this Court in
  16    connection with any dispute relating to enforcing the terms of this Final Judgment
  17    and Permanent Injunction.
  18          E.      Each party shall bear its own attorneys’ fees and costs.
  19
  20          IT IS SO ORDERED.
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  22    Dated: December 10, 2020
                                             Hon. John F. Walter
  23                                         United States District Judge
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